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                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,
                                                                Case No.: 2:18-CR-36
       vs.

ZANABA MANET,

                     Defendant.


     MOTION FOR TRAVEL FEBRUARY 10, 2019 to FEBRUARY 13, 2019
________________________________________________________________________

       The Defendant, Zanaba Manet, by and through the undersigned attorney, moves this

Honorable Court, allow for her to travel February 10, 2019 to February 13, 2019 outside

the Southern District of Georgia to resolve outstanding traffic tickets in California. The

proposed travel schedule for Ms. Manet is as follows:

       1. Ms. Manet will leave Miami, Florida on the morning February 10th, 2019 and

travel to California, where she will arrive on the afternoon of February 10th, 2019. While in

California Ms. Manet will stay at 90 Sale Lane, Red Bluff, California.

       2. Ms. Manet is willing to keep her supervising probation officer apprised of her

whereabouts and will follow the instructions of the court.

       3. Ms. Manet will leave California on Wednesday, February 13, 2019, and return to

her home in Miami, Florida that evening.
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     WHEREFORE, the Defendant respectfully moves this Honorable Court for its Order

granting travel permission as set forth above.

      Respectfully submitted this 7thday of February, 2019.


                                                 /s/ Adrienne B. Browning
                                                 Adrienne B. Browning
                                                 Attorney for the Defendant
                                                 Georgia Bar No. 974637



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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 7th day of February, 2019, I served upon all parties a

copy of the foregoing Motion to Travel as Counsel in accordance with the notice of

electronic filing (NEF), which was generated as a result of electronic filing in this Court.



                                                   /s/ Adrienne B. Browning
                                                   Adrienne B. Browning
                                                   Attorney for the Defendant
                                                   Georgia Bar No. 974637




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